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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

}
FERNANDO MENENDEZ }
}
Plaintiff, } 2:13-ev-00239
}
}
-against- }
}
t
}
NCO FINANCIAL SYSTYEMS, INC \
}
Defendant. }
}

 

STIPULATION OF DISMISSAL

 

WHEREAS plaintiff Fernando Menendez alleges civil damages against defendant
NCO Financial System, Inc; and |

WHEREAS plaintiff is no longer pursuing damages against the aforementioned
defendant in the above-captioned litigation;

IT 1S HEREBY STIPULATED AND AGREED by the undersigned counsel for
each of the parties herein that the aforementioned defendants shall be dismissed with prejudice as
parties to this litigation, with all parties to bear their own costs, expenses, and dishursements.

Dated: Apel S?, 2013
New York, New York,

COYNE LEGAL GROUP, PLLC 4 , Zp
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Aaron I Reichel, Esq.

Of Counsel

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Attorneys for Plaintiff

 

 
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Dated: April 3.2013

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